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                                                             Promissory Note 08-07-12
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                                                               Complaint for Declaratory Relief
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                                      PROMISSORY NOTE

 $500,000                                                                     August 7, 2012


         FOR VALUE RECEIVED, JL Powell LLC, a Delaware limited liability company with
 an address of 16860 Three Oaks Road, Three Oaks, Michigan 49128 (the “Borrower”), promises
 to pay to the order of Blue Highways Holdings III, LLC, a Delaware limited liability company
 (together with any successor holder or holders of this Note, the “Lender”) at its office at 454
 Beaver Dam Road, Vail, CO 81657 or such other place as Lender may designate, the principal
 sum of Five Hundred Thousand Dollars ($500,000), together with interest thereon, as hereinafter
 set forth.

         Interest on the principal balance of this Note from time to time outstanding shall accrue
 from the date hereof at the rate of ten percent (10%) per annum. Interest shall be computed on
 the basis of a three hundred and sixty (360)-day year and shall be paid for the actual number of
 days on which principal is outstanding.

         In any event, the entire outstanding principal balance of this Note, together with any
 accrued interest and other charges as may be due hereunder, shall be paid on demand of Lender
 and in any event not later than August 31, 2012 (the “Maturity Date”).

         In the event that any amount is not paid when due hereunder, Lender shall have the right,
 in addition to any other rights hereunder to collect a late charge as compensation for increased
 costs of administering such late payment. Such late charge shall be in an amount equal to five
 percent (5%) of the amount of such late payment, and shall be due and payable upon demand.

         In the event that any payment due hereunder is not paid when due or upon a default under
 the security agreement securing this Note (the “Security Agreement”) or under any other
 instrument executed by Borrower in connection with the loan evidenced by this Note or any
 other loan made by Lender (together with this Note and the Security Agreement, the “Loan
 Documents”) which default is not cured within the applicable grace period, if any, Lender, at its
 option, may declare immediately due and payable the entire outstanding balance of principal and
 interest, together with all other charges to which the Lender may be entitled. If this Note is so
 accelerated or any amounts due hereunder are not paid on demand or, if demand is not sooner
 made, the Maturity Date, all amounts due hereunder shall, after such acceleration or such
 Maturity Date, as the case may be, bear interest at a rate of eighteen percent (18%) per annum,
 until paid.

        This Note may be prepaid in whole or in any part greater than $50,000 at any time and
 from time to time without penalty or premium.

         Any notice required or permitted to be delivered hereunder shall be in writing and shall
 be deemed to be delivered on the earlier of (i) the date received, or (ii) the date of delivery,
 refusal, or non-delivery indicated on the return receipt, if deposited in a United States Postal
 Service depository, postage prepaid, sent registered or certified mail, return receipt requested,
 addressed to the party to receive the same at the address of such party set forth at the beginning
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